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                                 BRIDGE LETTER OF AGREEMENT


                                                                                September 28th, 2020

Dr. Matt Lucas, Chancellor IWU National & Global
Indiana Wesleyan University
4201 S Washington St,
Marion, IN 46953


Dear Matt,

This Letter of Agreement is intended to document and be a binding agreement to accept a bridge loan of one
hundred and twenty five thousand dollars ($125,000.00) to cover additional time needed in order to raise funds
pursuant to our joint Educational Services Platform Strategic Development, Licensing & Cooperation Agreement
effective on April 15th of this year.

Both parties continue to work together and separately to raise funds, bring together partnerships, and complete
strategic deals in Ethiopia and other countries in order to fully fund our joint agreement. There are several of
these efforts that are expected to yield significant funds in the coming weeks.

IWU hereby agrees to provide the bridge loan upon the signature of this Bridge Letter of Agreement. The total
bridge funding to this point is seven hundred and fifty thousand dollars ($750,000.00).

Olé Holdings herby agrees to repay the bridge loan upon receiving funding from any source by December 31 st
2020.

We are excited to see what this collaboration means to our future collaboration for the Kingdom!

Sincerely offered and accepted by:




___________________________                                     ___________________________

Dalen Harrison, CEO                                             Nancy D Schoonmaker, EVP & CFO
Olé Holdings, Inc.                                              Indiana Wesleyan University National & Global
